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 9
                          IN THE UNITED STATES DISTRICT COURT
10
                         FOR THE EASTERN DISTRICT OF CALIFORNIA
11

12
     UNITED STATES OF AMERICA,           )       2:14-CR-00330 GEB
13                                       )
                             Plaintiff, )
14                                       )       STIPULATION AND [PROPOSED] ORDER
     v.                                  )       TO CONTINUE STATUS CONFERENCE
15                                       )
                                         )
16   GUO NENG MA, et al.                 )
                                         )
17                           Defendants. )
     __________________________________ )
18

19                                      STIPULATION

20         Plaintiff, United States of America, by and through its counsel,

21   Assistant United States Attorney Christiaan Highsmith, defendant, Ashley

22   Chang, by and through her counsel, Timothy Zindel, and defendant, Guo Neng

23   Ma, by and through his counsel, John R. Duree, Jr., agree and stipulate to

24   vacate the date currently set for status conference, February 20, 2015 at

25   9:00 a.m., in the above-captioned matter, and to continue the status

26   conference to April 17, 2015 at 9:00 a.m. in the courtroom of the Honorable

27   Garland E. Burrell, Jr.

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                               STIPULATION AND [PROPOSED] ORDER - 1
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 1         The reason for this request is that additional time is needed by

 2   defense counsel to confer with their clients, for plea negotiations, and for

 3   other defense preparation.     Conference with Mr. Ma is complicated by the fact

 4   that he does not speak English and an interpreter is required for all

 5   communications.   The Court is advised that Mr. Highsmith and Mr. Zindel

 6   concur with this request and have authorized Mr. Duree to sign this

 7   stipulation on their behalf.

 8         The parties further agree and stipulate that the time period from the

 9   filing of this stipulation until April 17, 2015 should be excluded in

10   computing time for commencement of trial under the Speedy Trial Act, based

11   upon the interest of justice under 18 U.S.C. § 3161(h)(7)(B)(iv), and Local

12   Code T4, to allow reasonable time necessary for effective defense

13   preparation.   It is further agreed and stipulated that the ends of justice

14   served in granting the request outweigh the best interests of the public and

15   the defendant in a speedy trial.

16         Accordingly, the parties respectfully request the Court adopt this

17   proposed stipulation.

18   IT IS SO STIPULATED

19
     Dated: February 12, 2015                     BENJAMIN WAGNER
20                                                United States Attorney

21                                          By:    /s/ Christiaan Highsmith
                                                  Christiaan Highsmith
22                                                Assistant United States Attorney

23
     Dated: February 12, 2015                      /s/ John R. Duree, Jr.
24                                                JOHN R. DUREE, JR.
                                                  Attorney for Defendant
25                                                GUO NENG MA

26
     Dated: February 12, 2015                      /s/ Timothy Zindel
27                                                TIMOTHY ZINDEL
                                                  Attorney for Defendant
28                                                ASHLEY CHANG

                                STIPULATION AND [PROPOSED] ORDER - 2
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 2                                          ORDER

 3            For the reasons set forth in the accompanying stipulation and

 4   declaration of counsel, the status conference date of February 20, 2015 at

 5   9:00 a.m. is VACATED and the above-captioned matter is set for status

 6   conference on April 17, 2015 at 9:00 a.m.      The Court finds excludable time in

 7   this matter through April 17, 2015 under 18 U.S.C. § 3161(h)(7)(B)(iv) and

 8   Local Code T4, to allow reasonable time necessary for effective defense

 9   preparation.     For the reasons stipulated by the parties, the Court finds that

10   the interest of justice served by granting the request outweigh the best

11   interests of the public and the defendant in a speedy trial. 18 U.S.C. §§

12   3161(h)(7)(A), (h)(7)(B)(iv).

13   IT IS SO ORDERED.

14   Dated:     February 13, 2015

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                                STIPULATION AND [PROPOSED] ORDER - 3
